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                       UNITED STATES BANKRUPTCY COURT
                                    FOR THE
                          DISTRICT OF MASSACHUSETTS


  In re                                                IN PROCEEDINGS UNDER
  ANDREW GREENHUT,                                     CHAPTER 13
                 Debtor                                CASE NO.: 19-10782


  RESPONSE OF DEBTOR TO OBJECTION TO THE CONFIRMATION OF THE
           DEBTOR’S SECOND AMENDED CHAPTER 13 PLAN

     NOW COMES, the Debtor, Andrew Greenhut, and hereby moves this Honorable

 Court, pursuant to MLBR 3015-1 and Chapter 13 Rule 13-8(c), hereby responds to the

 Objection of the Chapter 13 Trustee to the Confirmation of the Debtor’s Second

 Amended Chapter 13 Plan as follows:


 1. The Debtor, through his Counsel, has already proactively conferenced this matter, as

    required by MLBR 3015-1 and Chapter 13 Rule 13-8(d), with the Chapter 13

    Trustee’s Counsel in order to clarify certain misperception and errors made by the

    Chapter 13 Trustee with respect to the Debtor’s Amended Scheduiles filed

    contemporaneously with the Debtor’s Second Amended Chapter 13 Plan. In

    particular, the Chapter 13 Trustee has, overlooked substantial changes expected by

    the Debtor with the birth of his child by his fiancée in December of 2020 as reflected

    in the attachment to the Schedule “J”, showing the change in expenses after

    December 2020 from those reflected in the Schedule “J” which show expenses listed

    prior to the birth of the Debtor’s child. The Debtor explained that his intent in

    showing changes in expenses and the step-wise nature of the Debtor’s Second

    Amended Chapter 13 Plan both before and after the birth of his child was done in an
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    effort to demonstrate the Debtor’s “transparency”, given the allegations (albeit

    specious) of lack of “good faith” levelled against the Debtor by his former spouse.


 2. After conferencing the matter with the Chapter 13 Trustee’s Counsel, it was agreed

    that, rather than temporally “breaking out” the Debtor’s expenses and the amount of

    the Debtor’s Amended Chapter 13 Plan Payment in step-wise fashion, the Chapter 13

    Trustee would rather prefer that the Debtor further amend his Schedules of Income

    and Expenses (Schedules “I” and “J”) his Chapter 13 Calculation of Disposable

    Income (Official Form 122C-2) and his Chapter 13 Plan to reflect the averages or

    mean amounts of the figures utilized so that the Amended Plan can be more easily, if

    less precisely, evaluated by the Chapter 13 Trustee’s Office.


 3. In order to reconstruct and further amend the Debtor’s Schedules of Income and

    Expenses (Schedules “I” and “J”) his Chapter 13 Calculation of Disposable Income

    (Official Form 122C-2) and his Chapter 13 Plan, the Debtor requests that he be

    granted thirty (30) days within which to do so.
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     WHEREFORE, the Debtor respectfully requests that the Court grant the Debtor

 thirty (30) days within which to further amend the Debtor’s Schedules of Income and

 Expenses (Schedules “I” and “J”) his Chapter 13 Calculation of Disposable Income

 (Official Form 122C-2) and submit a Third Amended Chapter 13 Plan, along with the

 appropriate Motions to Amend, and grant all other relief deemed just and proper.


                                             ANDREW GREENHUT, Debtor
                                             By his Attorney,

 Date: 6/10/2020                             /s/ Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO# 547970
                                             Law Offices of Richard N. Gottlieb
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  In re                                                IN PROCEEDINGS UNDER
  ANDREW GREENHUT,                                     CHAPTER 13
                 Debtor                                CASE NO.: 19-10782


                             CERTIFICATE OF SERVICE

        I, Richard N. Gottlieb, Esq., do hereby certify that I have this day served a copy

 of the Response of Debtor to Chapter 13 Trustee’s Objection to the Confirmation of the

 Debtor’s Second Amended Pre-Confirmation Chapter 13 Plan dated June 1, 2020, by

 First-class mail postage paid and/or electronically via the CM/ECF Electronic Messaging

 System on the persons listed below.


 Date: June 10, 2020                          /s/ Richard N. Gottlieb, Esq.
                                              Richard N. Gottlieb, Esq. BBO # 547970
                                              Law Offices of Richard N. Gottlieb
                                              Ten Tremont Street
                                              Suite 11, 3rd Floor
                                              Boston, Massachusetts 02108
                                              (617) 742-4491
                                              rnglaw@verizon.net
  PERSONS SERVED:

 Carolyn Bankowski, Esq.
 Chapter 13 Trustee
 (Served via CM/ECF)

 Alex Mattera, Esq.
 Partridge, Snow and Hahn, LLP
 Counsel to Gita Srivastava
 (Served via CM/ECF)
